Case 19-11466-MFW   Doc 4977-1   Filed 11/09/23   Page 1 of 11




                        Exhibit A



                    No Liability Claims
                                            Case 19-11466-MFW      Doc 4977-1      Filed 11/09/23      Page 2 of 11




                                                                    No Liability Claims
                              Debtor                                      Filed Claim Amount ($)
                    Claim    Against
    Creditor Name
                     No.    Whom Claim        Priority   Secured       503(b)(9)     Admin.         Unsecured          Total            Reason for Disallowance
                              is Filed
                                                                                                                                   Pursuant to the court-approved MOU
                                                                                                                                   [D.I. 4152, 4126], and following
                                                                                                                                   payment of the Withdrawal Liability
                                                                                                                                   Settlement Payment (as defined in
                                                                                                                                   the MOU), all claims against
         Atlantic                                                                                                                  Claimant under bond were released
        Specialty           Center City                                                                                            and the bond was cancelled.
        Insurance           Healthcare,                                                                                            Accordingly, no amounts are owed
1       Company     879        LLC               $-        $-             $-            $-         $4,044,322.00   $4,044,322.00   in connection with this claim.
                                                                                                                                   Pursuant to the court-approved MOU
                                                                                                                                   [D.I. 4152, 4126], and following
                                                                                                                                   payment of the Withdrawal Liability
                                                                                                                                   Settlement Payment (as defined in
                                                                                                                                   the MOU), all claims against
         Atlantic           Philadelphia                                                                                           Claimant under bond were released
        Specialty            Academic                                                                                              and the bond was cancelled.
        Insurance              Health                                                                                              Accordingly, no amounts are owed
2       Company     128     System, LLC          $-        $-             $-            $-         $4,044,322.00   $4,044,322.00   in connection with this claim
                                                                                                                                   Pursuant to the court-approved MOU
                                                                                                                                   [D.I. 4152, 4126], and following
                                                                                                                                   payment of the Withdrawal Liability
                                                                                                                                   Settlement Payment (as defined in
                                                                                                                                   the MOU), all claims against
         Atlantic                St.                                                                                               Claimant under bond were released
        Specialty           Christopher’s                                                                                          and the bond was cancelled.
        Insurance            Healthcare,                                                                                           Accordingly, no amounts are owed
3       Company     545         LLC              $-        $-             $-            $-         $4,044,322.00   $4,044,322.00   in connection with this claim
                                                                                                                                   Pursuant to the court-approved MOU
                                                                                                                                   [D.I. 4152, 4126], and following
                                                                                                                                   payment of the Withdrawal Liability
                                                                                                                                   Settlement Payment (as defined in
                            Philadelphia                                                                                           the MOU), all claims against
         Atlantic            Academic                                                                                              Claimant under bond were released
        Specialty             Medical                                                                                              and the bond was cancelled.
        Insurance           Associates,                                                                                            Accordingly, no amounts are owed
4       Company      17         LLC              $-        $-             $-            $-         $4,044,322.00   $4,044,322.00   in connection with this claim.
                                                 Case 19-11466-MFW        Doc 4977-1         Filed 11/09/23      Page 3 of 11


                                                                              No Liability Claims
                                     Debtor                                         Filed Claim Amount ($)
                           Claim    Against
      Creditor Name
                            No.    Whom Claim      Priority     Secured          503(b)(9)     Admin.          Unsecured          Total             Reason for Disallowance
                                     is Filed
                                                                                                                                               Claimant’s claim before the
                                                                                                                                               Philadelphia Commission on Human
                                                                                                                                               Relations was dismissed in
                                                                                                                                               November 2020 on grounds that the
                                                                                                                                               charges were not substantiated, and
                                                                                                                                               the deadlines to pursue a federal and
                                                                                                                                               state claim on such grounds have
                                                                                                                                               passed. The claim is thus time-
                                   Center City                                                                                                 barred, appears to no longer be
                                   Healthcare,                                                                                                 pursued, and the Debtors have no
  5       Bell, Scherise   694        LLC             $-           $-               $-            $-          $120,000.00      $120,000.00     liability with respect to such amount.
           Front Street
            Healthcare
            Properties,                                                                                                                        Pursuant to the court-approved MOU
             LLC (as                                                                                                                           [D.I. 4152, 4126], and as a result of
           assignee of                                                                                                                         the Withdrawal Liability Settlement
                                                                                                                                               Payment made thereunder in full
          Pension Fund                                                                                                                         payment of amounts owed to the
           for Hospital                                                                                                                        Pension Fund under the Pension
         and Healthcare            Center City                                                                                                 Settlement Agreement, no further
          Employees of             Healthcare,                                                                                                 amounts are owed to the Pension
  6            PHL)        1086       LLC             $-           $-               $-            $-         $22,599,359.00   $22,599,359.00   Fund.
           Front Street
            Healthcare
            Properties,                                                                                                                        Pursuant to the court-approved MOU
             LLC (as                                                                                                                           [D.I. 4152, 4126], and as a result of
           assignee of                                                                                                                         the Withdrawal Liability Settlement
                                                                                                                                               Payment made thereunder in full
          Pension Fund                                                                                                                         payment of amounts owed to the
           for Hospital                                                                                                                        Pension Fund under the Pension
         and Healthcare            Center City                                                                                                 Settlement Agreement, no further
          Employees of             Healthcare,                                                                                                 amounts are owed to the Pension
  7            PHL)        711        LLC             $-      $1,302,530.47                       $-               $-         $1,302,530.47    Fund.




                                                                                         2
51153813.2 10/27/2023
                                                  Case 19-11466-MFW      Doc 4977-1      Filed 11/09/23      Page 4 of 11


                                                                          No Liability Claims
                                    Debtor                                      Filed Claim Amount ($)
                          Claim    Against
       Creditor Name
                           No.    Whom Claim        Priority   Secured       503(b)(9)     Admin.          Unsecured          Total             Reason for Disallowance
                                    is Filed
           Front Street
            Healthcare
            Properties,                                                                                                                    Pursuant to the court-approved MOU
             LLC (as                                                                                                                       [D.I. 4152, 4126], and as a result of
           assignee of                                                                                                                     the Withdrawal Liability Settlement
                                                                                                                                           Payment made thereunder in full
          Pension Fund                                                                                                                     payment of amounts owed to the
           for Hospital                St.                                                                                                 Pension Fund under the Pension
         and Healthcare           Christopher’s                                                                                            Settlement Agreement, no further
          Employees of             Healthcare,                                                                                             amounts are owed to the Pension
  8            PHL)       684         LLC              $-        $-             $-            $-         $22,599,359.00   $22,599,359.00   Fund.
           Front Street
            Healthcare
            Properties,                                                                                                                    Pursuant to the court-approved MOU
             LLC (as                                                                                                                       [D.I. 4152, 4126], and as a result of
           assignee of                                                                                                                     the Withdrawal Liability Settlement
                                                                                                                                           Payment made thereunder in full
          Pension Fund            Philadelphia                                                                                             payment of amounts owed to the
           for Hospital            Academic                                                                                                Pension Fund under the Pension
         and Healthcare             Medical                                                                                                Settlement Agreement, no further
          Employees of            Associates,                                                                                              amounts are owed to the Pension
  9            PHL)        29         LLC              $-        $-             $-            $-         $22,599,359.00   $22,599,359.00   Fund.
           Front Street
            Healthcare
            Properties,                                                                                                                    Pursuant to the court-approved MOU
             LLC (as                                                                                                                       [D.I. 4152, 4126], and as a result of
           assignee of                                                                                                                     the Withdrawal Liability Settlement
                                                                                                                                           Payment made thereunder in full
          Pension Fund                                                                                                                     payment of amounts owed to the
           for Hospital                                                                                                                    Pension Fund under the Pension
         and Healthcare                                                                                                                    Settlement Agreement, no further
          Employees of            HPS of PA,                                                                                               amounts are owed to the Pension
  10           PHL)        24       L.L.C.             $-        $-             $-            $-         $22,599,359.00   $22,599,359.00   Fund.




                                                                                     3
51153813.2 10/27/2023
                                                  Case 19-11466-MFW      Doc 4977-1      Filed 11/09/23      Page 5 of 11


                                                                          No Liability Claims
                                    Debtor                                      Filed Claim Amount ($)
                          Claim    Against
       Creditor Name
                           No.    Whom Claim        Priority   Secured       503(b)(9)     Admin.          Unsecured          Total             Reason for Disallowance
                                    is Filed
           Front Street
            Healthcare
            Properties,                                                                                                                    Pursuant to the court-approved MOU
             LLC (as                                                                                                                       [D.I. 4152, 4126], and as a result of
           assignee of                 St.                                                                                                 the Withdrawal Liability Settlement
                                                                                                                                           Payment made thereunder in full
          Pension Fund            Christopher’s                                                                                            payment of amounts owed to the
           for Hospital             Pediatric                                                                                              Pension Fund under the Pension
         and Healthcare           Urgent Care                                                                                              Settlement Agreement, no further
          Employees of               Center,                                                                                               amounts are owed to the Pension
  11           PHL)        29        L.L.C.            $-        $-             $-            $-         $22,599,359.00   $22,599,359.00   Fund.
           Front Street
            Healthcare
            Properties,                                                                                                                    Pursuant to the court-approved MOU
             LLC (as                                                                                                                       [D.I. 4152, 4126], and as a result of
           assignee of                                                                                                                     the Withdrawal Liability Settlement
                                                                                                                                           Payment made thereunder in full
          Pension Fund                                                                                                                     payment of amounts owed to the
           for Hospital                                                                                                                    Pension Fund under the Pension
         and Healthcare                                                                                                                    Settlement Agreement, no further
          Employees of              TPS II of                                                                                              amounts are owed to the Pension
  12           PHL)        61      PA, L.L.C.          $-        $-             $-            $-         $22,599,359.00   $22,599,359.00   Fund.
           Front Street
            Healthcare
            Properties,                                                                                                                    Pursuant to the court-approved MOU
             LLC (as                                                                                                                       [D.I. 4152, 4126], and as a result of
           assignee of                                                                                                                     the Withdrawal Liability Settlement
                                                                                                                                           Payment made thereunder in full
          Pension Fund                                                                                                                     payment of amounts owed to the
           for Hospital                                                                                                                    Pension Fund under the Pension
         and Healthcare                                                                                                                    Settlement Agreement, no further
          Employees of             TPS III of                                                                                              amounts are owed to the Pension
  13           PHL)        26      PA, L.L.C.          $-        $-             $-            $-         $22,599,359.00   $22,599,359.00   Fund.




                                                                                     4
51153813.2 10/27/2023
                                                Case 19-11466-MFW      Doc 4977-1      Filed 11/09/23      Page 6 of 11


                                                                        No Liability Claims
                                    Debtor                                    Filed Claim Amount ($)
                          Claim    Against
       Creditor Name
                           No.    Whom Claim      Priority   Secured       503(b)(9)     Admin.          Unsecured          Total              Reason for Disallowance
                                    is Filed
           Front Street
            Healthcare
            Properties,                                                                                                                  Pursuant to the court-approved MOU
             LLC (as                                                                                                                     [D.I. 4152, 4126], and as a result of
           assignee of                                                                                                                   the Withdrawal Liability Settlement
                                                                                                                                         Payment made thereunder in full
          Pension Fund                                                                                                                   payment of amounts owed to the
           for Hospital                                                                                                                  Pension Fund under the Pension
         and Healthcare                                                                                                                  Settlement Agreement, no further
          Employees of            TPS IV of                                                                                              amounts are owed to the Pension
  14           PHL)        38     PA, L.L.C.         $-        $-             $-            $-         $22,599,359.00   $22,599,359.00   Fund.
           Front Street
            Healthcare
            Properties,                                                                                                                  Pursuant to the court-approved MOU
             LLC (as                                                                                                                     [D.I. 4152, 4126], and as a result of
           assignee of                                                                                                                   the Withdrawal Liability Settlement
                                                                                                                                         Payment made thereunder in full
          Pension Fund                                                                                                                   payment of amounts owed to the
           for Hospital                                                                                                                  Pension Fund under the Pension
         and Healthcare                                                                                                                  Settlement Agreement, no further
          Employees of             TPS V of                                                                                              amounts are owed to the Pension
  15           PHL)        26     PA, L.L.C.         $-        $-             $-            $-         $22,599,359.00   $22,599,359.00   Fund.
                                                                                                                                         Documentation provided in
                                                                                                                                         connection with claim shows that no
                                                                                                                                         Debtors were named in pending state
                                                                                                                                         court litigation relating to the claims,
                                                                                                                                         and following multiple outreach to,
                                                                                                                                         and discussions with claimant's
                                                                                                                                         counsel, no basis has been identified
                                                                                                                                         for a claim against the Debtors nor
                                  Center City                                                                                            does it appear that claimant intends
                                  Healthcare,                                                                                            to pursue a claim against the
  16     REDACTED         957        LLC             $-        $-             $-            $-         $50,000,000.00   $50,000,000.00   Debtors.




                                                                                   5
51153813.2 10/27/2023
                                                  Case 19-11466-MFW      Doc 4977-1      Filed 11/09/23      Page 7 of 11


                                                                          No Liability Claims
                                    Debtor                                      Filed Claim Amount ($)
                          Claim    Against
       Creditor Name
                           No.    Whom Claim        Priority   Secured       503(b)(9)     Admin.          Unsecured          Total              Reason for Disallowance
                                    is Filed
                                                                                                                                           Documentation provided in
                                                                                                                                           connection with claim shows that no
                                                                                                                                           Debtors were named in pending state
                                                                                                                                           court litigation relating to the claims,
                                                                                                                                           and following multiple outreach to,
                                                                                                                                           and discussions with claimant's
                                                                                                                                           counsel, no basis has been identified
                                  Philadelphia                                                                                             for a claim against the Debtors nor
                                   Academic                                                                                                does it appear that claimant intends
                                     Health                                                                                                to pursue a claim against the
  17     REDACTED         146     System, LLC          $-        $-             $-            $-         $50,000,000.00   $50,000,000.00   Debtors.

            Keystone               Center City
             Quality               Healthcare,                                                                                             Claims waived pursuant to court-
  18      Transport Co.   108         LLC              $-        $-             $-            $-          $76,691.43       $76,691.43      approved stipulation [D.I. 4168].
                                       St.
            Keystone              Christopher’s
             Quality               Healthcare,                                                                                             Claims waived pursuant to court-
  19      Transport Co.    55         LLC              $-        $-             $-            $-          $14,814.00       $14,814.00      approved stipulation [D.I. 4168].
                                                                                                                                           Documentation provided in
                                                                                                                                           connection with claim shows that
                                                                                                                                           no Debtors were named in
                                                                                                                                           pending state court litigation
                                                                                                                                           relating to the claims, and
                                                                                                                                           following multiple outreach to,
                                                                                                                                           and discussions with claimant's
                                                                                                                                           counsel, no basis has been
                                                                                                                                           identified for a claim against the
                                  Center City                                                                                              Debtors nor does it appear that
                                  Healthcare,                                                                                              claimant intends to pursue a
  20     REDACTED         966        LLC               $-        $-             $-            $-         $50,000,000.00   $50,000,000.00   claim against the Debtors.




                                                                                     6
51153813.2 10/27/2023
                                                Case 19-11466-MFW      Doc 4977-1      Filed 11/09/23      Page 8 of 11


                                                                        No Liability Claims
                                  Debtor                                      Filed Claim Amount ($)
                        Claim    Against
       Creditor Name
                         No.    Whom Claim        Priority   Secured       503(b)(9)     Admin.          Unsecured          Total             Reason for Disallowance
                                  is Filed
                                                                                                                                         Documentation provided in
                                                                                                                                         connection with claim shows that
                                                                                                                                         no Debtors were named in
                                                                                                                                         pending state court litigation
                                                                                                                                         relating to the claims, and
                                                                                                                                         following multiple outreach to,
                                                                                                                                         and discussions with claimant's
                                                                                                                                         counsel, no basis has been
                                  SCHC                                                                                                   identified for a claim against the
                                 Pediatric                                                                                               Debtors nor does it appear that
                                Associates,                                                                                              claimant intends to pursue a
  21     REDACTED        65        LLC               $-        $-             $-            $-         $50,000,000.00   $50,000,000.00   claim against the Debtors.
                                                                                                                                         Documentation provided in
                                                                                                                                         connection with claim shows that
                                                                                                                                         no Debtors were named in
                                                                                                                                         pending state court litigation
                                                                                                                                         relating to the claims, and
                                                                                                                                         following multiple outreach to,
                                                                                                                                         and discussions with claimant's
                                   SCHC                                                                                                  counsel, no basis has been
                                  Pediatric                                                                                              identified for a claim against the
                                 Anesthesia                                                                                              Debtors nor does it appear that
                                 Associates                                                                                              claimant intends to pursue a
  22     REDACTED        16         LLC              $-        $-             $-            $-         $50,000,000.00   $50,000,000.00   claim against the Debtors.
                                                                                                                                         Documentation provided in
                                                                                                                                         connection with claim shows that
                                                                                                                                         no Debtors were named in
                                                                                                                                         pending state court litigation
                                                                                                                                         relating to the claims, and
                                                                                                                                         following multiple outreach to,
                                                                                                                                         and discussions with claimant's
                                     St.                                                                                                 counsel, no basis has been
                                Christopher's                                                                                            identified for a claim against the
                                 Pediatric                                                                                               Debtors nor does it appear that
                                Urgent Care                                                                                              claimant intends to pursue a
  23     REDACTED        23     Center, LLC          $-        $-             $-            $-         $50,000,000.00   $50,000,000.00   claim against the Debtors.



                                                                                   7
51153813.2 10/27/2023
                                                Case 19-11466-MFW      Doc 4977-1      Filed 11/09/23      Page 9 of 11


                                                                        No Liability Claims
                                  Debtor                                      Filed Claim Amount ($)
                        Claim    Against
       Creditor Name
                         No.    Whom Claim        Priority   Secured       503(b)(9)     Admin.          Unsecured          Total             Reason for Disallowance
                                  is Filed
                                                                                                                                         Documentation provided in
                                                                                                                                         connection with claim shows that
                                                                                                                                         no Debtors were named in
                                                                                                                                         pending state court litigation
                                                                                                                                         relating to the claims, and
                                                                                                                                         following multiple outreach to,
                                                                                                                                         and discussions with claimant's
                                                                                                                                         counsel, no basis has been
                                Philadelphia                                                                                             identified for a claim against the
                                 Academic                                                                                                Debtors nor does it appear that
                                   Health                                                                                                claimant intends to pursue a
  24     REDACTED       149     System, LLC          $-        $-             $-            $-         $50,000,000.00   $50,000,000.00   claim against the Debtors.
                                                                                                                                         Documentation provided in
                                                                                                                                         connection with claim shows that
                                                                                                                                         no Debtors were named in
                                                                                                                                         pending state court litigation
                                                                                                                                         relating to the claims, and
                                                                                                                                         following multiple outreach to,
                                                                                                                                         and discussions with claimant's
                                Philadelphia                                                                                             counsel, no basis has been
                                 Academic                                                                                                identified for a claim against the
                                  Medical                                                                                                Debtors nor does it appear that
                                Associates,                                                                                              claimant intends to pursue a
  25     REDACTED        22         LLC              $-        $-             $-            $-         $50,000,000.00   $50,000,000.00   claim against the Debtors.
                                                                                                                                         Documentation provided in
                                                                                                                                         connection with claim shows that
                                                                                                                                         no Debtors were named in
                                                                                                                                         pending state court litigation
                                                                                                                                         relating to the claims, and
                                                                                                                                         following multiple outreach to,
                                                                                                                                         and discussions with claimant's
                                                                                                                                         counsel, no basis has been
                                     St.                                                                                                 identified for a claim against the
                                Christopher's                                                                                            Debtors nor does it appear that
                                 Healthcare,                                                                                             claimant intends to pursue a
  26     REDACTED       601         LLC              $-        $-             $-            $-         $50,000,000.00   $50,000,000.00   claim against the Debtors.



                                                                                   8
51153813.2 10/27/2023
                                                Case 19-11466-MFW       Doc 4977-1      Filed 11/09/23      Page 10 of 11


                                                                         No Liability Claims
                                    Debtor                                     Filed Claim Amount ($)
                          Claim    Against
       Creditor Name
                           No.    Whom Claim       Priority   Secured       503(b)(9)     Admin.          Unsecured          Total             Reason for Disallowance
                                    is Filed
                                                                                                                                          Pursuant to the court-approved MOU
                                                                                                                                          [D.I. 4152, 4126], and as a result of
                                                                                                                                          the Withdrawal Liability Settlement
                                                                                                                                          Payment made thereunder in full
          Pension fund                                                                                                                    payment of amounts owed to the
           for Hospital           Philadelphia                                                                                            Pension Fund under the Pension
         and Healthcare            Academic                                                                                               Settlement Agreement, no further
          Employees of               Health                                                                                               amounts are owed to the Pension
  27           PHL        168     System, LLC         $-        $-             $-            $-         $22,599,359.00   $22,599,359.00   Fund.
                                                                                                                                          Pursuant to the court-approved MOU
                                                                                                                                          [D.I. 4152, 4126], and as a result of
                                                                                                                                          the Withdrawal Liability Settlement
                                                                                                                                          Payment made thereunder in full
          Pension Fund                                                                                                                    payment of amounts owed to the
           for Hospital             SCHC                                                                                                  Pension Fund under the Pension
         and Healthcare            Pediatric                                                                                              Settlement Agreement, no further
          Employees of            Associates,                                                                                             amounts are owed to the Pension
  28           PHL         79       L.L.C.            $-        $-             $-            $-         $22,599,359.00   $22,599,359.00   Fund.
                                                                                                                                          Pursuant to the court-approved MOU
                                                                                                                                          [D.I. 4152, 4126], and as a result of
                                                                                                                                          the Withdrawal Liability Settlement
                                                                                                                                          Payment made thereunder in full
          Pension Fund              SCHC                                                                                                  payment of amounts owed to the
           for Hospital            Pediatric                                                                                              Pension Fund under the Pension
         and Healthcare           Anesthesia                                                                                              Settlement Agreement, no further
          Employees of            Associates,                                                                                             amounts are owed to the Pension
  29           PHL         23       L.L.C.            $-        $-             $-            $-         $22,599,359.00   $22,599,359.00   Fund.
                                                                                                                                          Pursuant to the court-approved MOU
                                                                                                                                          [D.I. 4152, 4126], and as a result of
                                                                                                                                          the Withdrawal Liability Settlement
                                                                                                                                          Payment made thereunder in full
          Pension Fund                                                                                                                    payment of amounts owed to the
           for Hospital           StChris Care                                                                                            Pension Fund under the Pension
         and Healthcare           at Northeast                                                                                            Settlement Agreement, no further
          Employees of             Pediatrics,                                                                                            amounts are owed to the Pension
  30           PHL         25        L.L.C.           $-        $-             $-            $-         $22,599,359.00   $22,599,359.00   Fund.




                                                                                    9
51153813.2 10/27/2023
                                               Case 19-11466-MFW       Doc 4977-1       Filed 11/09/23     Page 11 of 11


                                                                        No Liability Claims
                                    Debtor                                    Filed Claim Amount ($)
                          Claim    Against
       Creditor Name
                           No.    Whom Claim      Priority   Secured       503(b)(9)      Admin.         Unsecured          Total             Reason for Disallowance
                                    is Filed
                                                                                                                                         Pursuant to the court-approved MOU
                                                                                                                                         [D.I. 4152, 4126], and as a result of
                                                                                                                                         the Withdrawal Liability Settlement
                                                                                                                                         Payment made thereunder in full
          Pension Fund                                                                                                                   payment of amounts owed to the
           for Hospital                                                                                                                  Pension Fund under the Pension
         and Healthcare                                                                                                                  Settlement Agreement, no further
          Employees of            TPS of PA,                                                                                             amounts are owed to the Pension
  31           PHL         25       L.L.C.           $-        $-             $-            $-         $22,599,359.00   $22,599,359.00   Fund.




                                                                                   10
51153813.2 10/27/2023
